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                                  EXHIBIT B

                         MALCOLM DECLARATION
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Counsel to Edwin G. Miguel

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re                                                           Chapter 11

    SEARS HOLDINGS CORPORATION, et al.,                             Case No. 18-23538 (SHL)

                                       Debtors.1                    (Jointly Administered)


       DECLARATION OF SEAN B. MALCOLM IN SUPPORT OF OBJECTION OF
    SHELLEY S. HAWKINS TO MOTION OF THE CHUBB COMPANIES FOR ENTRY
       OF AN ORDER (I) RULING THAT DEFAULT JUDGMENT, SETTLEMENT
      AGREEMENTS AND STATE COURT ORDERS ARE EACH VOID AB INITIO
      PURSUANT TO 11 U.S.C. §§ 105(a) AND 362(a) AND WITHOUT EFFECT; AND
                       (II) GRANTING RELATED RELIEF

            Sean B. Malcolm, pursuant to 28 U.S.C. § 1746, being of full age, hereby declares as

follows:

            1.     I am counsel to Edwin G. Miguel. I submit this declaration in support of the



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtors’ federal tax identification
      number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
      Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774);
      SHC Licensed Business LLC (3718); A&E LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc.
      (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); & Business Franchises, Inc. (6742); Sears Home
      Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc.
      (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
      Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC
      (None); SHC Promotions LLC (9626); Big Beaver of Florida Development, LLC (None); California Builder
      Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839);
      Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart
      Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears
      Holdings Publishing Company, LLC (5554); Sears STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC
      (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com
      LLC (9022); Sears Brands Management Corporation (5365); and SRe Holding Corporation (4816



                                                           1
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Objection of Shelley S. Hawkins to Motion of the Chubb Companies for Entry of an Order

(I) Ruling that Default Judgment, Settlement Agreements and State Court Orders are Each Void

Ab Initio Pursuant to 11 U.S.C. §§ 105(a) and 362(a) and (II) Granting Related Relief

(the “Objection”). Capitalized terms used herein are intended to have the same meanings ascribed

to such terms in the Objection.

       2.      I became attorney for Miguel in the Washington Litigation on or about September

2020. As Miguel’s attorney, I owe fiduciary duties to Miguel to protect and defend his interests.

       3.      I reviewed the First Settlement Agreement and discussed the same with Miguel.

After consultation (i.e., my privileged communications with my client), Miguel elected to proceed

with the First Settlement Agreement.

       4.      I reviewed the Second Settlement Agreement and discussed the same with Miguel.

After consultation (i.e., my privileged communications with my client), Miguel elected to proceed

with the Second Settlement Agreement.

       5.      On or about August 12, 2021, I caused the mailing of a 20-day “notice to cure,”

which is mandated under Washington’s Insurance Fair Conduct Act, to Ace American. Ace

American never responded or, to my knowledge, took any action in response to such mailing.

       6.      At all times I represented Miguel’s bests interests based on the facts and

circumstances of the matter at hand. I negotiated the aforementioned Settlement Agreements at

arm’s length with counsel for the plaintiff (Terry Traverso). Any suggestion that my client was

“harassed” or “coerced” into signing either of the Settlement Agreements is simply unfounded.

       7.      For the avoidance of doubt, nothing herein should be construed as a waiver of

attorney-client privilege or any other privilege or protection that arises as a matter of law between




                                                 2
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a lawyer and his or her client.

                           [Remainder of Page Intentionally Left Blank]




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